                         Case 8:20-ap-00503-CED            Doc 19      Filed 06/07/21      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                06/07/2021 01:30 PM
                                                                COURTROOM 9A

HONORABLE CARYL DELANO
CASE NUMBER:                                                    FILING DATE:
8:20-bk-05283-CED                 Chapter 11                      09/21/2020

ADVERSARY: 8:20-ap-00503-CED                            Pltf Atty: Lynn Welter Sherman

                                                        Dft Atty: Edward J. Peterson

DEBTOR:                Raj S. Ambay



HEARING:

Genesis Surgery Center, LLC v. Ambay

Continued Motion to Dismiss Adversary Proceeding Filed by Edward J. Peterson III on behalf of Defendant Raj S. Ambay (related
document(s)[1]). (Peterson, Edward) Doc #4


APPEARANCES:: Amy Harris, Lynn Sherman

WITNESSES:

EVIDENCE:

RULING:
Continued Motion to Dismiss Adversary Proceeding Filed by Edward J. Peterson III on behalf of Defendant Raj S. Ambay (related
document(s)[1]). (Peterson, Edward) Doc #4- Continued to 6/14/2021 at 1:30 pm, Announced in Open Court No Further Notice
Given
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                 8:20-ap-00503-CED                     Lead BK: 8:20-bk-05283-CED                    Chapter 11
